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                                                          Exhibit A to the Complaint
Location: Chelmsford, MA                                                                                  IP Address: 24.62.248.230
Total Works Infringed: 74                                                                                 ISP: Comcast Cable
 Work      Hashes                                                                 UTC             Site           Published     Registered   Registration
 1         Info Hash: 2050D0595CE5CE49BF58E05FCFC07D94B3518567                           07-21-   Blacked        07-16-2022    07-22-2022   PA0002359474
           File Hash:                                                                      2022
           68A380690E0D86D2B8C273C6DEAD56A98F5A34ED49D5E163E28FEB8F48A16271            14:31:18
 2         Info Hash: 14460C9C14FBE2AF72199CDE5A44701F0B6EB02B                           07-11-   Blacked        06-11-2022    06-27-2022   PA0002355039
           File Hash:                                                                      2022
           9779F131A783314DD287D6DA26F1C5BFA145EBB837E040E4AB3D404A2925AA0F            14:11:44
 3         Info Hash: BFA30A14B5ACDD49ED2E66FDF882640473CA4472                           07-11-   Vixen          06-24-2022    07-22-2022   PA0002359475
           File Hash:                                                                      2022
           1B5D4C656444C4321E6BAE842F0C5DE536A344CFCDC7852CD3130CEFB4AC3682            14:11:03
 4         Info Hash: 727178DEDE59549B0F3D19A6AE9F515971FBF3AC                           06-21-   Vixen          01-08-2021    02-02-2021   PA0002280513
           File Hash:                                                                      2022
           9FDA321883F29EEEC3762C56924CB22E57A8F3DAD2A6A2539740A75970060C20            09:50:41
 5         Info Hash: 0B43B512524D2A6E2494591C859D69ED0E247FD0                           06-20-   Blacked        10-23-2021    11-11-2021   PA0002321276
           File Hash:                                                                      2022
           9099ACE5AE3B0BEEBA5AC3E120C487044A737801A25A9A00A07370B97F01154D            11:10:40
 6         Info Hash: 59273C2580C92D41695C8A1D890F6F4AB3D63299                           06-20-   Vixen          06-17-2022    06-27-2022   PA0002355040
           File Hash:                                                                      2022
           C0F97DC824E118F0CA0225BB2C6B6E04DD9B1E2F68E10D364DD9F6F24E2E081F            11:10:17
 7         Info Hash: 16617922850097731287FF6D78415BAB4518093D                           06-20-   Tushy          06-12-2022    06-27-2022   PA0002354982
           File Hash:                                                                      2022
           EFE8E506427B8ED56EB6E6F75C20485DF65EAB36AA7424130FBC3EA75472D230            11:04:32
 8         Info Hash: 1728CB5F8700CB059FF02BBFCEB8884985F57CD7                           06-07-   Vixen          06-03-2022    06-27-2022   PA0002354958
           File Hash:                                                                      2022
           3031212457D6D3977B24E542FD2BD9DB5EC49B47F6E305DED4DE803836F8D750            14:32:46
 9         Info Hash: 7DFF5595645239373D2A4D82A8BA3E69EB32ABAE                           06-07-   Blacked        06-04-2022    06-27-2022   PA0002354990
           File Hash:                                                                      2022
           2BB7B3081E70A0FC1174BCB9173E5C3A912EF8AB2147D84271D71CC9FB54FCD3            14:31:45
 10        Info Hash: 848D53796E57ECC9339584B00C85DBECC15B1972                           05-30-   Vixen          05-27-2022    06-27-2022   PA0002355035
           File Hash:                                                                      2022
           71BA8001D0DB2EABF4C24A1E059187713B008BB937F30A0217782816A4C04421            01:05:24
 11        Info Hash: 4F58943085E73C9139E8F938565E2561B0B6BDE7                           05-26-   Vixen          05-20-2022    06-27-2022   PA0002354985
           File Hash:                                                                      2022
           0AFE4D1FAD285B1160308A887824910E1EE56599360B2B7935E8B86190E51E73            10:42:10
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: DF13DBDC5953B38B3E5133F037BCC8E8AF0F468D                   05-23-   Blacked   05-14-2022   05-20-2022   PA0002350380
       File Hash:                                                              2022
       C34BA05DE519722211D78E80F30F1DBCCF669B8F44E350B62FF21AEFD8E95C46    01:35:34
13     Info Hash: E5EA15B7345AA3784B86AC90DBF931479525790E                   05-23-   Blacked   05-16-2022   05-20-2022   PA0002350378
       File Hash:                                                              2022   Raw
       E187E955BC211670C77B916369B9ECDEF074F86B8F4387C984DF8CBAB6010336    01:33:53
14     Info Hash: 8340DF7A3A5C43A154B8A190F8EB6010786137E1                   05-14-   Blacked   01-10-2020   02-04-2020   PA0002225582
       File Hash:                                                              2022
       D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10    02:48:29
15     Info Hash: 42D042262B0B988B4AFD2252CCE7DAC705E12FF0                   05-09-   Blacked   04-25-2022   05-20-2022   PA0002350387
       File Hash:                                                              2022   Raw
       EC754E17A7E0CC2A27D26B3F2CAC2A9605374CA08594FD412512C4548BC1A2B4    10:32:57
16     Info Hash: DEE51D0DCBE476C087C2FBFC6FD3265A0630E4A8                   05-09-   Blacked   04-30-2022   05-20-2022   PA0002350385
       File Hash:                                                              2022
       47335489F0CF63B02ADB32671381D366A9A5EA8A8FBC105A05423CC419DCEFF6    10:31:10
17     Info Hash: 83E9EF24FC9AD406EA2C7A86288848332835BE9E                   05-04-   Blacked   05-02-2022   05-20-2022   PA0002350372
       File Hash:                                                              2022   Raw
       AB12D7E9DCAADA8A85C66CED075437DB02AD110A77398552114A144EE4BF68C4    10:42:44
18     Info Hash: E5044C340705C68E653525F264547C5210AFCD89                   04-27-   Tushy     04-24-2022   05-20-2022   PA0002350374
       File Hash:                                                              2022
       094536A798B5D33A31D65F4405E40AF93606C9725042CD04FD964B165E9BD263    22:39:12
19     Info Hash: 69908303363D635A5C0989EFC8F2370F9107ADC1                   04-26-   Vixen     08-13-2021   09-08-2021   PA0002316101
       File Hash:                                                              2022
       AC69B5FB8F99E10E0567B0D0D2DF5A8E9EB6DA595CACA93A61DEB1D17D08AD93    22:48:12
20     Info Hash: 4921C69C7C859498B8BF4A2FB83A9C6AA67D2CEE                   04-26-   Tushy     01-16-2022   03-04-2022   PA0002345785
       File Hash:                                                              2022
       EC1B7612C0DBBD5C4169639D43F31F14FEBE57A1AAA46F4231D33BC5F257BC93    22:40:38
21     Info Hash: FD3B71019CBB5E802E9CA726B0C5C421B0E4A5D1                   04-20-   Blacked   03-28-2022   04-23-2022   PA0002346413
       File Hash:                                                              2022   Raw
       616B24219397EA9989A0CF2721183852BAD80459EA1B413837B1772011782DD7    05:04:20
22     Info Hash: 5304A62BDB248AB9B666832E0F01E68B90968B40                   04-20-   Blacked   04-02-2022   04-23-2022   PA0002346422
       File Hash:                                                              2022
       315FC0EF9FA746F2C9174F519AF55E9072BE1A92B3BC7C6A16CCF81E9E1950D2    05:02:15
23     Info Hash: 8992FC993BD1C3B2FDFC21566D3F15BA2377B8CC                   03-28-   Blacked   03-19-2022   03-29-2022   PA0002342841
       File Hash:                                                              2022
       4FB7470DFA78110527584C84021E97335D3B81BB19CF2F79DE53CA3095BF89DD    12:27:49
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 58B2B09977BDC1D713A8B573B1C6F0ECC651853E                   03-28-   Vixen     03-25-2022   04-23-2022   PA0002346420
       File Hash:                                                              2022
       F4438CE7196FF62BF97DA719E3F83C83F3B7461F26716504E573144558DD5EBC    12:23:30
25     Info Hash: 69ECE7BD6C605D63E9EBEEFD35082CF1627E2932                   03-28-   Vixen     03-18-2022   04-21-2022   PA0002353056
       File Hash:                                                              2022
       A3628C7AE4DA0E79C6D35487C4FF335DB1B04C0081C7DD4AC946B16F94EBBD1B    12:22:59
26     Info Hash: EF42CFEB2B95887526FB35FF0857A2E33BFF215B                   03-01-   Blacked   02-19-2022   03-29-2022   PA0002342851
       File Hash:                                                              2022
       31B8203AB96DA08D8A9129F6E09062291B380F6D8C1E1EDF63DF0D367E35F7BF    11:01:54
27     Info Hash: FFB6EDFA66EEEF53EA113883593C28EC6BCE89A1                   03-01-   Blacked   02-26-2022   03-29-2022   PA0002342860
       File Hash:                                                              2022
       DA2409230A42FC45846820181027589052AE7C23274AA50393F3E49B9D372671    10:57:47
28     Info Hash: 540D644F7CF4DC47791772863E6BA03A72606F6D                   02-22-   Blacked   02-12-2022   02-14-2022   PA0002335505
       File Hash:                                                              2022
       F978C6F42E86569866612143F5CEA150485BFF0DB9B90999F20D4408700E2B1D    10:15:29
29     Info Hash: 0F058C65F3232B7C21FC46A70D9A282290A70729                   02-13-   Vixen     02-11-2022   02-14-2022   PA0002335457
       File Hash:                                                              2022
       13F283614EA119F14F567A4C85407B6D90A09735B58AE12228BE7A085CB81F34    19:23:53
30     Info Hash: 70ECB51C4FADD0D244D1FE108746EE2264F69820                   01-31-   Blacked   01-24-2022   02-14-2022   PA0002335489
       File Hash:                                                              2022   Raw
       6DA9802200B869DE388100460A735DADC6965B379326EAABC4DAF374BBF33E96    14:23:09
31     Info Hash: 3BF8426F875DECFA85506D36A574F80B2A19F08B                   01-25-   Vixen     01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       FB143D4830531FA2EB332A2331C575F176F0BDECAA39B9C3AA9588E8BF72EABA    13:57:32
32     Info Hash: 4462F15ECCAE3038C0E004C2DB3C7942CBA68F27                   01-18-   Vixen     01-14-2022   03-04-2022   PA0002345789
       File Hash:                                                              2022
       AA7966D1EC58A23D2922019D9593ADAD91E50106211EB64A264A882FA4900E4B    15:10:46
33     Info Hash: 639F7366853B85815E75CEBDB046E48402E59ACD                   01-14-   Blacked   01-08-2022   01-17-2022   PA0002330123
       File Hash:                                                              2022
       837885507F3F58246EDBA7D8357B446F958E62FBDB06477F17E6ADD87F91C2D3    20:15:36
34     Info Hash: 2FE3DB21DF0D396DD681E23816AA6AA15F59E6B6                   01-03-   Vixen     12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                              2022
       A760C42F362D9B2CBE12463BF6D84ACB9ABA030CC0A976BB24915B39D0F79D04    12:58:26
35     Info Hash: 749E544460520251EC74E0AFE586F6D1FDE01D75                   01-03-   Vixen     12-31-2021   01-17-2022   PA0002330094
       File Hash:                                                              2022
       C0A0080028456E39A794A70FC0E6687158FEC4749B23E0ED395A961777FB6C06    12:57:59
                               Case 1:22-cv-11261-DJC Document 1-1 Filed 08/04/22 Page 4 of 7

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 9F60EBB81F4C2CC20B87E20A0DF8F2F146FAF3DE                   01-03-   Vixen     12-17-2021   01-17-2022   PA0002330110
       File Hash:                                                              2022
       66C17539B3EB7FD12B6862F331F6C960DB542F9885E0A225FFF373C780097FE1    12:56:25
37     Info Hash: CCB9E55E86A2B9DCA817559173CE152D89FEE149                   01-03-   Blacked   12-18-2021   01-17-2022   PA0002330124
       File Hash:                                                              2022
       4E474BFF18A07AB53426EF3C92839F50B199C4A94F789FCB7CC7611C2DA7C3D9    12:55:54
38     Info Hash: 5DAC4AD0ACDE6DE76F2ECB3D6B40F615984D1643                   01-03-   Blacked   12-25-2021   01-17-2022   PA0002330103
       File Hash:                                                              2022
       3C36AED1205981717F56BEDC1871A31D650DCB9E3DD3824CDE9852D18350235D    12:55:47
39     Info Hash: 49AA44C17AB7EF7E8DEAD2ABEB7DAFCCA9BDE2CC                   01-03-   Blacked   01-01-2022   01-17-2022   PA0002330118
       File Hash:                                                              2022
       33CF0352EB90E38E8DEE767FB8FB8AB2662318B2A0C3BE6523EF801D48D4C014    12:55:20
40     Info Hash: A46EF5D51533052AB5DB18AD5D59C02498112521                   01-03-   Vixen     12-03-2021   12-09-2021   PA0002325832
       File Hash:                                                              2022
       E5D45312A0B249EB3F0741F4B012A08C297C648B314375ED6CC0A752B45BE90B    12:54:22
41     Info Hash: 775F2CA14447D23424007E92CCEAE9378307B48E                   12-10-   Vixen     10-15-2021   10-19-2021   PA0002317061
       File Hash:                                                              2021
       393A96A4745DB1CF46E96730EAB57731FE56A1C423EE2CE3AFB30A929D0BE688    10:53:07
42     Info Hash: 30E07E2124EB9681F8D0DABF9E2121927302FD72                   12-10-   Vixen     10-29-2021   11-11-2021   PA0002321280
       File Hash:                                                              2021
       96A7A9222CD845946BB1F902ABD4BB1A3ACF0AB353C3A5AAA0C1C1F1C046C9CC    10:50:22
43     Info Hash: 74898BC0F83F8E93BADCC898871832B64E0AE00A                   12-10-   Vixen     11-19-2021   12-09-2021   PA0002325815
       File Hash:                                                              2021
       900754436E54717A4FDC2E91E7AC80E6E3C9993108D0B49B80029038E41591D0    10:50:14
44     Info Hash: 795401C50FDDADEABBF656934EF4862EDAF4D812                   11-15-   Vixen     11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429    11:25:33
45     Info Hash: AE5FB05C7C820158FEFB50286318ECE012C72AEC                   11-15-   Vixen     10-22-2021   11-11-2021   PA0002321272
       File Hash:                                                              2021
       EB884ADC4081E604755AA5AE4C7221562537619D2635D5768798531088193748    11:21:26
46     Info Hash: 2369DA2EA39DD17E91F2F55D81946629A7872B9E                   11-12-   Blacked   11-06-2021   11-11-2021   PA0002321284
       File Hash:                                                              2021
       DC064752573A2022E4D177464D8CF99257640F88BD2CF8277CA68C4479A71323    03:05:36
47     Info Hash: 3818467D5DC9DDB317735107C4146CBB3C456751                   10-13-   Blacked   10-24-2020   11-05-2020   PA0002263386
       File Hash:                                                              2021
       76CC20D3E9FC939ED897DF2598478477E80E3E647195FEC6250C8664D38F8A3E    09:50:22
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: 343469C81E554999AA138B4E8CF3EF6ED54D4389                   10-06-   Blacked   09-25-2021   10-05-2021   PA0002315288
       File Hash:                                                              2021
       4571AC943DDA6169990985020A86CDD327E998F1CA7DC94CE1742C508289DDF3    12:19:56
49     Info Hash: 6C5F19A71ECCA0A465857AB73C180A5A676F3606                   10-06-   Blacked   09-27-2021   10-19-2021   PA0002317054
       File Hash:                                                              2021   Raw
       059EC8D696D691383580FC7C82ABBAC3CC0679DAF75C978A0E4D5644A675D819    12:19:08
50     Info Hash: 3321D4A107CC41A39D14B9A2A14AFCD6203788D2                   10-06-   Blacked   08-23-2021   09-21-2021   PA0002312669
       File Hash:                                                              2021   Raw
       DCF1E61DABBDACAA1F49306554569F401A676C097E6BFD2734C8AD5082C1F676    12:15:42
51     Info Hash: 2DEBFB2D58D17A4DD87260D8761C937E2D3FB6C8                   09-20-   Blacked   08-14-2021   08-23-2021   PA0002308398
       File Hash:                                                              2021
       5227155C139879FEABC60A356F3B8984A10F9875ED1A40A93B1D8FFA063C9DF3    15:52:08
52     Info Hash: 11A4E054DDCAD79D6BA40150EDD36C6EB5CC02D6                   09-20-   Tushy     09-19-2021   10-19-2021   PA0002317058
       File Hash:                                                              2021
       A363FF7BD8EBCA77228BF857CDB02785F79E3C6A4497F1AF980A34FDE09FBFF2    15:38:48
53     Info Hash: 752E7DEB87A02334B5649EE1FC8F0D941D627158                   09-16-   Tushy     08-19-2021   10-05-2021   PA0002315293
       File Hash:                                                              2021
       71B09A393C031EA3C4E064DF8E2A8D683B27DDB53606D4942CBE12A690354ED8    16:23:09
54     Info Hash: F1584FAF400BC09FABE20E779B802AFC7FE8A611                   09-16-   Blacked   08-19-2021   09-30-2021   PA0002319752
       File Hash:                                                              2021   Raw
       24C378B8BACF28DAC8B8B20B69A1BD1ECEDFE895E79BB51DB21C6A2B80B5D914    16:23:03
55     Info Hash: 95CE8FC9995512C1376E50826F5B4E44B0E5D8AD                   09-16-   Blacked   09-13-2021   10-05-2021   PA0002315289
       File Hash:                                                              2021
       31DF0005E5E991AE9D3F6056712C424E8D3AC8BC44E29DA31AC3C255F2F7E712    16:22:30
56     Info Hash: A8D53DEA08B7746C34DE4E64268673293D4422DD                   09-16-   Blacked   08-19-2021   09-30-2021   PA0002319753
       File Hash:                                                              2021
       9B389B6727C960BE5B06EB871C31476FB2D65C189CD6DE5A36DD352B11208903    16:21:55
57     Info Hash: 97411C3987A905CD4C458D6A88BC8EB53796B51B                   09-02-   Tushy     02-07-2021   03-08-2021   PA0002280362
       File Hash:                                                              2021
       169C2D70CE4F3BF1320FE3AB4A5BF7A90BF0429D9734BBF6A872DA7BF3CAA5C0    12:48:53
58     Info Hash: 51C5B8FED86E91E7B29A67C636149B7EF48E4993                   08-13-   Blacked   07-19-2021   08-23-2021   PA0002308404
       File Hash:                                                              2021   Raw
       9B00A5D7AA203F39A0524570796CCF18C944AFC45E74D83E93F2B51B7238EEC3    04:00:56
59     Info Hash: 2ABFE1DCAEC1D501F99D5CA64DA28A6C1F3FD199                   08-13-   Blacked   07-17-2021   08-02-2021   PA0002305089
       File Hash:                                                              2021
       6EC8DD142AA4464B4E54B42C19D4041A53FDA6C9140BA3F17AD78BEDF1B95679    03:57:00
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: 55C907CA49DB8C7D4C33933D3FD47E9896848AB8                   07-13-   Vixen     05-28-2021   08-02-2021   PA0002305093
       File Hash:                                                              2021
       57CEB08061E7896D812C3BDAEC0B4FEA63D0AC23E8A342DFA53F1B1EDD7BF73F    14:41:38
61     Info Hash: 6C93472B870D1A3FBCE36D3F90CC0E1E9DBD0E15                   07-13-   Vixen     07-02-2021   08-20-2021   PA0002312015
       File Hash:                                                              2021
       5958605F5086F5D45257FDD2CA4E68380E869342BFE06E9C9E4BC48334ADC732    14:41:31
62     Info Hash: 44DBCFD36B5F365555FC1E6093BE4755B03FD862                   07-13-   Vixen     07-09-2021   08-20-2021   PA0002312016
       File Hash:                                                              2021
       5E4C939E1A6376733ED50A1750625A65FA8E08E2119898F459DEE9AD88D0C498    14:39:55
63     Info Hash: 0F2348656BCA95DEFEDB64CE2ABC032472709F54                   07-09-   Blacked   05-15-2021   06-09-2021   PA0002295594
       File Hash:                                                              2021
       9DDAC032E4C0EAEF286FB2E54C4FE15F44C361508B56DFDDEE903CA16E742956    13:00:47
64     Info Hash: 7B8D0673CAF6CE3565EA151302ADBCE891CC3F11                   07-09-   Blacked   04-05-2021   04-14-2021   PA0002286708
       File Hash:                                                              2021   Raw
       EADBBBB1C4C156D1DA864BFACF476E7D91FE57D1F9E65DD008014E7483FFBBED    13:00:34
65     Info Hash: 2633CD97981B90290A6B07878DB24E95843051FD                   07-09-   Blacked   06-05-2021   06-15-2021   PA0002296924
       File Hash:                                                              2021
       12BFDB30AB4F19B7B4077D5B64A15D8A0C2A2F8AB5C3A0E5D9212F62656E8838    13:00:05
66     Info Hash: 58A2718F06BEDF42378F7D683C261C6E717BEED0                   07-09-   Blacked   03-20-2021   04-14-2021   PA0002286724
       File Hash:                                                              2021
       367DA0B6CB23569E57D6BDECB108ADD0B0002715646EFED1F8246C3D92616F20    12:59:52
67     Info Hash: 43E61D45E9E5B6B9B2682900678C8B7AC0EC7F0F                   07-09-   Blacked   05-22-2021   06-09-2021   PA0002295591
       File Hash:                                                              2021
       28B1CD07F1186F2C2F13FF5C2CEA5E6164DFE9C7EA8F4B540354CB6964AC73F3    12:59:36
68     Info Hash: 7B5C509F0E138C25DA7E1CFEDEBD4AA7B5DCF4BC                   07-09-   Blacked   05-31-2021   06-15-2021   PA0002296925
       File Hash:                                                              2021   Raw
       7A28194A1CC4B1F19B17D5740386B6F1D8D499F361CF1FCC92F31BEF672E1653    12:58:20
69     Info Hash: 01CC874EEB1A3F109F1331F296881481C049C1BC                   07-09-   Blacked   04-17-2021   06-09-2021   PA0002295585
       File Hash:                                                              2021
       317780DD02B7F71213A1F399309D732F9D81F4221C301A2BBA1228F6565D807D    12:57:17
70     Info Hash: 7FF31BAE159F522447D023CD6FC27CA0C3E4EE35                   07-09-   Blacked   05-29-2021   07-08-2021   PA0002300658
       File Hash:                                                              2021
       3C4C82D316C5F8DC31AC46F754A6847B902597E7145CDCB0F990567B216A07BB    12:57:16
71     Info Hash: 177CFD4D652475B5EF00F393977809C79A69B70B                   07-09-   Blacked   04-12-2021   04-27-2021   PA0002288983
       File Hash:                                                              2021   Raw
       E8EA6BADC1F18AC0C1695C21C0CD699BF59E094193E999894E1FB91A0921BC24    12:56:56
                                Case 1:22-cv-11261-DJC Document 1-1 Filed 08/04/22 Page 7 of 7

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
72     Info Hash: 6D40E6B3C68E4347A8776C49A5F33AED77C35A3C                   07-09-   Blacked   06-26-2021   07-08-2021   PA0002300662
       File Hash:                                                              2021
       23CEF8CDE126E624213A1BBC3AEC0ED99E29DC5FCEECCC7F6D3EC3C7F4E9CF6E    12:56:33
73     Info Hash: 6419AB363015515ED3967AEC17E55D06AF514FD0                   07-09-   Blacked   07-03-2021   08-02-2021   PA0002305091
       File Hash:                                                              2021
       FAEC65503943C685B1F611B238C74C21B3E57A21B7F6DB49EE7E815D320FEB6C    12:53:13
74     Info Hash: 890C3437529B678E2DFF8A7A86A3006FF2D7B85D                   06-29-   Blacked   03-15-2021   03-22-2021   PA0002282515
       File Hash:                                                              2021   Raw
       3E0756F0FD3E4A8F28FB50DE99E5B5E44D5CCEF60B28C0BB7F201719D7CEEB72    14:53:51
